  Case: 1:17-cv-00417 Document #: 480 Filed: 10/05/21 Page 1 of 6 PageID #:13456




                         UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

EDDIE L. BOLDEN,                    )
                                    )
            Plaintiff,              )                Case No. 17-cv-417
                                    )
      v.                            )                Hon. Steven C. Seeger
                                    )
ANGELO PESAVENTO, et al.,           )
                                    )
            Defendants.             )
____________________________________)

                                             ORDER

       Defendants’ Motion for Protective Order Finding James Oliver Unavailable to Testify

and to Designate his Deposition (Dckt. No. 476) is hereby denied. The gist of the motion is that

Defendant James Oliver, a former officer with the Chicago Police Department, is not physically

capable of coming to trial. He is 77 years old, and resides in Arkansas.

       The motion comes with a bit of a backstory. The Court first heard something about

Oliver’s health when the parties filed a Joint Statement Regarding Trial on August 14, 2020. See

Dckt. No. 399. Defendants reported that Oliver had “serious underlying health conditions,”

without more, and that he would be at risk if exposed to COVID-19. Id. at 3.

       Plaintiff responded by filing a motion for information about Oliver’s health condition.

See Dckt. No. 401. At that point, Oliver hadn’t shared any specifics about his health condition

with Plaintiff. So Plaintiff wanted to know whether Oliver’s health was seriously at risk, so that

Plaintiff’s counsel could evaluate the need to take a video deposition to preserve testimony.

       This Court granted that motion in part. See 11/24/20 Order (Dckt. No. 410). The Court

ordered Oliver to submit his medical records for an in camera inspection. The Court later
  Case: 1:17-cv-00417 Document #: 480 Filed: 10/05/21 Page 2 of 6 PageID #:13457




received and reviewed Oliver’s medical records. See 9/28/20 Letter & Medical Records (Dckt.

No. 407); 10/7/20 Letter & Medical Records (Dckt. No. 408).

       After reviewing the records, the Court determined that Oliver’s medical condition was

not sufficiently serious to justify another deposition. Id. But this Court also directed Defendants

to “promptly inform Plaintiff’s counsel and the Court if [Oliver’s] health situation changes in a

material way.” Id. The Court also directed defense counsel to provide periodic reports to

Plaintiff’s counsel about Oliver’s health. Id.

       This Court repeated that admonition a few months later. On March 5, 2021, this Court

directed defense counsel to “keep the Court and Plaintiffs’ counsel apprised of any material

changes in the health of any of the Defendants.” See 3/5/21 Order (Dckt. No. 417).

       The Court ordered the free flow of information as a safety valve, of sorts. The Court

recognized the importance of Oliver’s testimony at trial, so the Court required Oliver and

defense counsel to keep Plaintiff’s counsel in the loop. Part of the concern was the need to

preserve testimony, in case Oliver took a turn for the worse. And part of the concern was the

need to avoid last-minute surprises.

       In the months that followed, this Court received no updates about the status of Oliver’s

health. Oliver last submitted his medical records on October 7, 2020, meaning one full year ago.

Since then, this Court has not received anything suggesting that his health has deteriorated. And

the Court has not received any indication that Oliver might not be available for trial.

       Meanwhile, the pandemic has long delayed the start of this trial. But the parties –

including Defendant Oliver – have known about the trial date for half a year. On April 9, 2021,

this Court issued an Order confirming that trial would take place during the week of October 4,

2021. See 4/9/21 Order (Dckt. No. 428). On September 21, 2021, this Court learned from the



                                                 2
  Case: 1:17-cv-00417 Document #: 480 Filed: 10/05/21 Page 3 of 6 PageID #:13458




Clerk’s Office that trial would begin on October 7, 2021, and this Court notified the parties

immediately. See 9/21/21 Order (Dckt. No. 462). So, the parties have known for six months that

trial would begin sometime this week, and have known about the exact trial date for two weeks.

       This Court presided over a final pretrial conference on September 22, 2021. During that

hearing, defense counsel reported that Oliver had been hospitalized, and that his condition was

unknown. Defense counsel explained that he had just learned about the hospitalization moments

before the hearing. This Court directed defense counsel to gather information and keep the Court

and Plaintiff’s counsel informed.

       On October 4, 2021, this Court presided over the second session of the final pretrial

conference, to finalize preparations for the trial scheduled for October 7, 2021. During that

hearing, Plaintiff’s counsel (not defense counsel) made an oblique reference to “earth-shattering

news.” Apparently, on October 1, 2021 – meaning less than a week before trial – defense

counsel notified Plaintiff’s counsel that Oliver could not attend trial because of his deteriorating

health. As the Court noted at the time, “Well, that’s news to me.”

       Plaintiff’s counsel offered an explanation. Apparently, on October 1, 2021, Oliver and

his doctor – a general practitioner – got on the phone with defense counsel and reported that

“there’s no way he can attend this trial based on his medical condition.” Defense counsel, in

turn, notified Plaintiff’s counsel shortly after that phone call that Oliver couldn’t come.

       During the back and forth at the hearing, Plaintiff’s counsel explained that he plans to call

Oliver during his case in chief. And defense counsel added that they want him to appear for live

testimony, too.

       In the meantime, the doctor is out of the office until tomorrow, meaning October 6, 2021.

That’s the day before trial.



                                                  3
  Case: 1:17-cv-00417 Document #: 480 Filed: 10/05/21 Page 4 of 6 PageID #:13459




        After learning the news on October 4, this Court directed defense counsel to file an

update by the close of business on October 5. This Court also noted that Oliver is currently

under subpoena, and that there is no pending motion to quash for medical reasons.

        This evening, Defendants filed the Motion for Protective Order Finding James Oliver

Unavailable to Testify and to Designate his Deposition. See Dckt. No. 476. Defendants seek a

declaration that Oliver is unavailable to testify in court, and ask this Court to permit the

admission of his deposition testimony under Rule 804 of the Federal Rules of Evidence.

        The motion is under seal because it contains specifics about Oliver’s medical condition

(so the Court will keep it at a high level of generality). But the thrust of the motion is that Oliver

is not physically able to come to trial. “Because of serious health issues that have arisen in the

last two weeks, including hospitalization during September 2021, Oliver will be putting his

health at grave risk if he is forced to travel to Chicago to participate in this trial or to testify

remotely.” Id. at 1.

        According to the motion, “Oliver is severely and chronically ill and cannot travel without

great risk to his health.” Id. The motion added that Oliver’s health has “deteriorated

significantly” since his deposition in December 2017. Id. at 2. “Oliver now suffers from

multiple chronic medical conditions which severely impact his mobility and other activities of

daily living.” Id.

        The Court is not swayed by the almost-twelfth-hour revelations about Oliver’s medical

condition. One year ago, this Court directed Oliver and defense counsel to keep Plaintiff’s

counsel in the loop if Oliver’s medical condition deteriorated. This Court wanted to avoid last-

minute surprises, if at all possible.

        The motion is a last-minute surprise. But the medical conditions are not.



                                                    4
  Case: 1:17-cv-00417 Document #: 480 Filed: 10/05/21 Page 5 of 6 PageID #:13460




       The motion describes an assortment of medical conditions that Oliver currently has. But

none of those conditions are new, and came out of nowhere. They did not develop overnight. In

fact, it appears that Oliver has had those conditions for quite some time. If there was a real risk

that Oliver could not testify at trial, based on the medical conditions at issue, then Oliver could

have and should have let this Court and Plaintiff’s counsel know, long before now.

       Waiting until to the last minute to announce unavailability for trial does not inspire

confidence. And it is severely disruptive to this Court, and prejudicial to Plaintiff, to reveal

unavailability on the eve of opening statements. Based on the motion, there was no justification

for a last-minute bombshell about trial unavailability.

       It is true the Oliver was recently hospitalized – in September – for two or three days.

And the Court acknowledges that it is possible that his medical condition has deteriorated

markedly in the past few days. But the motion suggests otherwise. Oliver appears to be

suffering from long-term medical issues, none of which appear to have snuck up on anybody. If

he suffers from “multiple chronic medical conditions” that prevent him from testifying in person,

then Oliver should have let this Court know long ago. Id. at 2.

       The motion also does not offer very much information about the recent hospitalization.

Defendants offer no supporting medical records, either. If a hospitalization in September

prevented him from testifying, then Defendants should have let this Court know and submitted

medical records right away. But as things stand, this Court has nothing.

       This Court fully appreciates the inconvenience of in-court testimony. And the Court

acknowledges the risks that COVID-19 poses to the elderly. But the Court has all sorts of

protections in place to ensure that trial will be a safe environment for live testimony.




                                                  5
  Case: 1:17-cv-00417 Document #: 480 Filed: 10/05/21 Page 6 of 6 PageID #:13461




       Defendants argue that cross examination would be “exhausting” and “cause significant

physical discomfort.” Id. at 3. Rest assured – this Court will be vigilant and look out for the

health and well-being of all witnesses, including Oliver. The Court is well positioned to manage

the trial, and take breaks as necessary. The Court will sit only a few feet away, and will have a

good view of how each witness is doing.

       Based on the information before the Court, the motion is denied. The Court expects

Oliver to testify in person, and directs the parties to prepare accordingly.




Date: October 5, 2021

                                                       Steven C. Seeger
                                                       United States District Judge




                                                  6
